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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 MONAT GLOBAL CORP.,

              Plaintiff,

 v.                                                CASE NO. 3:18-mc-24-J-34MCR

 TONI MILLER,

           Defendant.
 ________________________________/

                                       ORDER

       THIS CAUSE is before the Court on Defendant Toni Miller and Non-Party

 Vikki Nittinger’s Objection to Magistrate’s Order for Lack of Jurisdiction,

 construed as a Motion for Reconsideration of the Court’s November 27, 2018

 Order (“Motion for Reconsideration”) (Doc. 13), and Plaintiff’s response in

 opposition thereto (“Response”) (Doc. 14). (See also Doc. 15 (construing “the

 Objection as a motion for reconsideration to be addressed by the Magistrate

 Judge”).) Upon consideration of the parties’ submissions, the Court determines

 that the Motion for Reconsideration is due to be DENIED.

       On November 27, 2018, the Court granted, in part, Plaintiff’s Motion to

 Compel Production of Documents from Non-Party Subpoena Respondent Vicki

 Nittinger (“Motion”) (Doc. 1). (See Doc. 12.) Defendant Miller and non-party

 Nittinger object to the Court’s Order and argue that this Court was without

 jurisdiction to adjudicate the Motion to Compel because the MDL court had
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 stayed discovery in the underlying actions, including this matter. (See Doc. 13 at

 2.) Miller and Nittinger also claim that “the Parties to the Miller action including

 Monat Global . . . are in agreement that this Motion is stayed.” (Id.) Miller and

 Nittinger did not otherwise object to the Court’s Order.

        Plaintiff concedes that the parties agreed to stay discovery in the

 underlying action, including the Motion to Compel in this matter, on October 12,

 2018.1 (See Doc. 14 at 4.) However, Plaintiff contends that the stay of discovery

 was no longer in effect at the time this Court entered the November 27, 2018

 Order. (Id. at 5-6.) Specifically, Plaintiff claims that on November 21, 2018 the

 MDL court entered a scheduling order providing that discovery would “commence

 upon entry of all of the following by the Court: (i) this Order, (ii) a Protective

 Order, (iii) a Deposition Protocol, and (iv) a Protocol for Written Discovery and

 the Production of Documents.” (Id. at 5.) According to Plaintiff, “[t]hat same day,

 the MDL Court entered the Protective Order, the Deposition Protocol, and the

 Joint Protocol for Written Discovery. . . . Accordingly, and contrary to Miller and

 Nittinger’s contention, on November 21, 2018, the parties were authorized by the



        1  Plaintiff attached a copy of the parties’ October 12, 2018 Stipulation Regarding
 Discovery in the Miller Action to its Response, indicating that “Counsel for Miller
 provided the Court in the U.S. District Court, Middle District of Florida, Jacksonville
 Division, with Notice of Transfer Order on October 5, 2018, and will provide that Court
 with a copy of this Stipulation.” (Doc. 14-1 at 4 (emphasis added).) Counsel for Miller
 failed to provide this Court with a copy of the stipulation. Inexplicably, neither party
 informed this Court of the parties’ stipulation agreeing to stay the Motion to Compel at
 issue, or regarding the MDL court orders staying and allowing discovery, prior to the
 issuance of this Court’s November 27, 2018 Order.

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 MDL Court to commence discovery in the consolidated actions.” (Id. at 5-6

 (emphasis added).) Plaintiff also argues that the parties’ October 12, 2018

 stipulation agreeing to stay discovery “provide[d] that discovery in the Miller

 action should be stayed pending ‘the entry of an Order governing discovery in the

 MDL proceeding,’” and “it was only after the MDL Court issued its November 21,

 2018 orders,” allowing discovery to proceed, that this Court entered its November

 27, 2018 Order. (Id. at 6 (emphasis in original).)

       In light of Plaintiff’s arguments and representation that the stay of

 discovery had been lifted on November 21, 2018 pursuant to the MDL court’s

 orders, this Court finds Defendant Miller and non-party Nittinger’s arguments to

 be unpersuasive. Pursuant to the parties’ stipulation, discovery was stayed “until

 entry of an Order governing discovery in the MDL proceeding,” which was

 entered on November 21, 2018. According to these terms, at the time this Court

 entered its November 27, 2018 Order, said stay had been lifted. Moreover,

 neither party has attempted to supplement the briefing in this matter or otherwise

 indicated that any other order(s) in the underlying MDL proceedings would

 preclude the enforcement of this Court’s November 27, 2018 Order compelling

 non-party Nittinger to produce the Facebook Group materials responsive to

 Plaintiff’s subpoena. Thus, the Motion for Reconsideration is due to be denied.

       Accordingly, it is

       ORDERED:


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       1.     The Motion for Reconsideration (Doc. 13) is hereby DENIED.

              a.     On or before January 14, 2020, counsel for Nittinger and

              Monat are ordered to confer and agree to an e-discovery protocol for

              the collection of Facebook data from Nittinger in accordance with the

              Subpoena and the Court’s November 27, 2018 Order (Doc. 12).

              b.     Monat shall cover the expense of using an e-discovery vendor

              for the collection and production of the Facebook Group material

              from Nittinger.

              c.     Nittinger shall produce the Facebook Group materials and all

              other documents and materials responsive to the Subpoena as

              outlined in this Order on or before January 28, 2020.

       DONE and ORDERED in Jacksonville, Florida on January 7, 2020.




 Copies to:

 Counsel of Record




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